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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN

 Eric C. Grimm,

             Plaintiff,                      Case No. 17-cv-654

 v.                                          HON. GORDON J. QUIST

 Raw Story Media, Inc., The Washington
 Times, LLC, The Herald Publishing
 Company, LLC, MLive Media Group, f/k/a
 Booth Newspapers, Inc., Newslo, The
 Associated Press, Stephen Kloosterman,
 Kevin Even, Paul Shibley, Brianna Scott,
 David Bossenbroek, Matt J. Roberts,
 David Shafer, Barton Dieters, Gregory C.
 Pittman, Williams/Hughes, PLLC, Douglas
 Hughes, Theodore N. Williams, Jr.,
 Timothy Hicks, William Marietti, Kathy
 Hoogstra, Robert Carter, Raymond
 Kostrzewa, Linnea Kostrzewa, Mark T.
 Boonstra, Neil Mullally, Vicki Broge, and
 the County of Muskegon

          Defendants.
_____________________________________________________________________
 Eric C. Grimm                     Allan C. Vander Laan (P33893)
 Eric C. Grimm, PLLC               Curt A. Benson (P38891)
 Attorney for Plaintiff            CUMMINGS, MCCLOREY, DAVIS & ACHO
 1017 West South Street            Attorneys for Defendants Matt J. Roberts,
 Alvin, TX 77511                   Gregory C. Pittman, Timothy Hicks,
 734-717-4900                      William Marietti, Kathy Hoogstra, Raymond
 E-Mail ecgrimm@umich.edu          Kostrzewa, Neil Mullally, County of
                                   Muskegon
                                   2851 Charlevoix Dr., S.E. - Suite 327
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_____________________________________________________________________

   REPLY OF DEFENDANTS COUNTY OF MUSKEGON, JUDGE PITTMAN, JUDGE
    HICKS, JUDGE MARIETTI, JUDGE HOOGSTRA, JUDGE MULLALLY, JUDGE
   KOSTRZEWA, AND PROSECUTOR ROBERTS TO PLAINTIFF’S “OPPOSITION”
             (ECF NO. 44) TO DEFENDANTS’ MOTION TO DISMISS




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                                     ARGUMENT IN REPLY

             Plaintiff Grimm’s “Opposition” to Defendants County of Muskegon, Judge Pittman,

Judge Hicks, Judge Marietti, Judge Hoogstra, Judge Mullally, Judge Kostrzewa, and

Prosecutor Roberts’ Motion Seeking Dismissal under Fed. R. Civ. P. 12(b)(6) presents

seven substantive arguments. Each argument is conclusory and contrary to law. Grimm’s

“Opposition” makes clear that his First Amended Complaint is insufficient to state any

state or federal law claim against these Defendants. Thus, Grimm’s claims against these

Defendants should be dismissed.

             First, Grimm erroneously asserts that these Defendants have misinterpreted

Iqbal’s standard. (ECF No. 44, PageID.469-472). But it is Grimm who confuses this

standard by conflating plausible claims with plausible allegations. Contrary to Grimm’s

assertions, these Defendants do not assert that Grimm’s individual allegations

themselves are implausible and must be disregarded. Rather, in accordance with Iqbal,

these Defendants assert that Grimm’s allegations “accepted as true, [fail] to state a claim

for relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). As set

forth in these Defendants’ Motion Seeking Dismissal, Grimm’s First Amended Complaint

entirely fails to make individualized allegations against these Defendants or to the extent

it discusses these Defendants, Grimm’s allegations are vague and conclusory. Thus,

Grimm’s First Amended Complaint does not allow the “court to draw the reasonable

inference that” these Defendants “are liable for the misconduct” Grimm alleges. Id.

             Moreover, it is not enough that Grimm asserts he has “alleged all essential

elements of every count alleged, against each of the Defendants” (which he has not).

(ECF No. 44, PageID.469-470). Under Fed. R. Civ. P. Rule 12(b)(6), “a plaintiff’s



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obligation to provide the grounds of his entitlement to relief requires more than labels and

conclusions, and formulaic recitation of the elements of a cause of action will not do.” Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). Grimm has not alleged any

specific conduct of these Defendants and provided only conclusory allegations, legal

conclusions, and formulaic recitation of the elements of his claims, which is insufficient to

survive a motion to dismiss.

             Further, to the extent Grimm relies on new allegations presented in his

“Opposition,” he may not do so. A response to a motion to dismiss is not a pleading and

may not be considered for determining whether a plaintiff has set forth a claim for relief

which can be granted. Fed. R. Civ. P. 7(a); Weiner v. Klais & Co., Inc., 108 F.3d 86, 98

(6th Cir. 1997)(“[m]atters outside the pleadings are not to be considered by a court in

ruling on a 12(b)(6) motion to dismiss.”); Meitzner v. Talbot, No. 15-cv-12870, 2015 WL

13220732 at * 5 (E.D. Mich. Oct. 30, 2015). Grimm has not stated plausible claims against

these Defendants in his First Amended Complaint and his claims against them must be

dismissed.

             Second, contrary to Grimm’s assertions, he has not pleaded a plausible Fourth

Amendment claim against Judge Pittman. Grimm’s “Opposition” entirely fails to address

the fatal flaw in his Fourth Amendment claim—that he has neither alleged that Judge

Pittman personally participated in the alleged search nor alleged any specific facts

regarding the alleged order issued by Judge Pittman. (ECF No. 7, PageID.116, 119, 122-

124, ¶¶ 93, 104-105, 116-118, 121-123, 125, 130, 132). While Grimm’s First Amended

Complaint vaguely discusses home appraisals and home evaluations during his mother’s

guardianship proceedings presided over by Judge Pittman, it is entirely devoid of any



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details regarding Judge Pittman’s order which is insufficient to state a plausible claim that

Judge Pittman violated Grimm’s Fourth Amendment rights by issuing the order. (ECF No.

7, PageID.116, 119, 122-124, ¶¶ 93, 104-105, 116-118, 121-123, 125, 130, 132).

             Moreover, Grimm has not rebutted these Defendants’ arguments made in reliance

on Bright v. Gallia County, Ohio, 753 F.3d 639, 648 (6th Cir. 2014) that Judge Pittman

is entitled to judicial immunity for his actions in the guardianship proceeding. Jurisdiction

for purposes of judicial immunity is to be broadly construed and contrary to Grimm’s

assertions, he has not shown that Judge Pittman acted “in the clear absence of all

jurisdiction over the subject matter.” Id. at 648. In fact, Grimm’s allegations, taken as true,

simply allege that Judge Pittman presided over his mother’s guardianship proceedings,

which is a proceeding over which probate courts have exclusive subject matter

jurisdiction. MCL 700.1302(c); (ECF No. 7, Page.ID117-124, ¶¶ 95-96, 99-102, 104-111,

113-126).

             Third, Grimm erroneously asserts that Muskegon County, Judge Pittman, Judge

Hicks, Judge Marietti, Judge Hoogstra, Judge Mullally, and Judge Kostrzewa violated the

First Amendment at the investiture. (ECF No. 44, PageID.476-477). But Grimm’s

“Opposition,” fails to address the major defect in his First Amended Complaint which is

that it is extremely vague as to details about the investiture ceremony and more

importantly, that it fails to allege what, if anything, Judge Hicks, Judge Marietti, Judge

Hoogstra, Judge Kostrzewa, Judge Mullally, and Judge Pittman personally did during the

ceremony to violate his constitutional rights. (ECF No. 7, PageID. 106-107, 112-114, ¶¶

38-39, 45, 56, 62-66, 68-70, 78).




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             Further, Grimm failed to rebut these Defendants’ argument that the Judges are

entitled to absolute judicial immunity, or at the very least, qualified immunity. Bright, 753

F.3d at 649; Gragg v. Kentucky Cabinet for Workforce Development, 289 F.3d 958,

964 (6th Cir. 2002). Grimm’s “Opposition” makes the vague and conclusory assertion that

the Judges are not entitled to judicial immunity because their actions at the ceremony

were not “judicial functions.” (ECF No. 44, PageID.476). But this assertion is belied by

the little detail regarding the ceremony provided in Grimm’s First Amended Complaint

(which again, do not describe the individual conduct of the Judges) that the event took

place in the courthouse and was presided over by sitting judges in robes. (ECF No. 7,

PageID. 106, 111-112, ¶¶ 38, 61, 69). These vague allegations, taken as true, suggest

that to the extent any of the Judges participated in the investiture, they are entitled to

absolute judicial immunity or at the very least, qualified immunity.

             Fourth, despite Grimm’s assertions, he has not adequately pleaded a defamation

claim against Judge Pittman. (ECF No. 44, PageID.477-478). Grimm entirely failed to

address these Defendants’ argument made in reliance on Thomas M. Cooley Law

School v. Doe, 300 Mich. App. 245, 262; 833 NW2d 331 (2013) and Royal Palace

Homes, Inc. v. Channel 7 of Detroit, Inc., 197 Mich. App. 48, 53-54; 495 NW2d 392

(1992) that Grimm failed to meet the pleading specificity requirements for a defamation

claim by failing to plead the “exact language” used by Judge Pittman that he asserts is

defamatory.

             Grimm’s First Amended Complaint makes vague allegations regarding an alleged

statement made by Judge Pittman but never sets forth detailed facts about that statement,

its context, or the “exact language” of that statement. (ECF No. 7, PageID. 153, 159, 163,



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¶¶ 315, 353, 368). Instead, Grimm makes vague reference to a statement that Judge

Pittman allegedly made on court letterhead, which is insufficient to plead defamation.

(ECF No. 7, PageID.163-164, ¶¶ 369, 374, 378). Further, nothing in Grimm’s response

rebuts these Defendants’ argument that Judge Pittman is entitled to absolute

governmental immunity or at the very least governmental immunity under Michigan law

for his defamation claim.

             Fifth, Grimm similarly and erroneously asserts that he has alleged a “defamation

per se” claim against Prosecutor Roberts. (ECF No. 44, PageID.478-480). But Grimm’s

First Amended Complaint not only completely failed to plead the “exact language” of the

alleged defamation by Prosecutor Roberts but failed to plead any facts that Prosecutor

Roberts made any statements about him whatsoever. (ECF No. 7, PageID.130, 134-167,

¶¶ 167-194, 202-402).1 Grimm’s First Amended Complaint is insufficient to state a

plausible defamation per se claim against Prosecutor Roberts and thus, this claim must

be dismissed.

             Sixth, Grimm’s assertion that Forrester eliminates Judge Pittman’s entitlement to

absolute judicial immunity for an “employment discrimination” claim is meritless. (ECF

No. 44, PageID.480-481). These Defendants acknowledge that under Forrester v.

White, judges are not acting in a judicial capacity when making employment decisions

and thus are not entitled to judicial immunity. 484 U.S. 219, 229 (1988). But Grimm has

not adequately alleged that Judge Pittman made an employment decision to fire him from




1 Grimm did not make any individualized allegations about Prosecutor Roberts actions
until his “Opposition” to these Defendants’ Motion Seeking Dismissal but as set forth
above Grimm’s “Opposition,” cannot be considered in determining whether Grimm has
stated a claim for purposes of Fed. R. Civ. P. 12(b)(6).
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a law firm. Grimm’s First Amended Complaint makes conclusory allegations and

unwarranted factual inferences that Judge Pittman made an employment decision to fire

him on behalf of Williams Hughes, PLLC, which is a private law firm at which Judge

Pittman is not employed. (ECF No. 7, PageID. 127-129, ¶¶ 149, 158, 162-163). Grimm’s

allegations do not detail how Judge Pittman actually made an employment decision on

behalf of the law firm. Id. This is not only insufficient to defeat Judge Pittman’s entitlement

to immunity under Forrester but it is also insufficient to state a claim that Judge Pittman

personally violated Grimm’s constitutional rights through “employment discrimination.”

Thus, such claims against Judge Pittman must be dismissed.

             Finally, contrary to Grimm’s assertions, his allegations against Muskegon County

are insufficient to state plausible claims under either federal or state law. (ECF No. 44,

PageID.481-483). Grimm has made no effort at all to rebut these Defendants’ arguments

made in reliance on Monell v. Dept. of Social Servs. of the City of New York, 436 U.S.

658 (1970); Vereecke v. Huron Valley School District, 609 F.3d 392, 403 (6th Cir. 2010)

that he failed to identify any policy, practice, or custom of Muskegon County that caused

a violation of his constitutional rights. Grimm’s First Amended Complaint fails to allege

such policies or customs. (ECF No. 7, PageID.105-115, 124-129, ¶35-85, 137-166). Nor

has Grimm rebutted these Defendants’ governmental immunity arguments made in

reliance on Robinson v. City of Lansing, 486 Mich. 1, 6; 782 NW2d 171 (2010). Grimm

has not alleged that the County was not engaged in the exercise of a “governmental

function” for purposes of governmental immunity from state law tort claims. (ECF No. 7).

Thus, Grimm’s claims against Muskegon County should be dismissed.




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                                        CONCLUSION

             Grimm’s “Opposition” to Defendants County of Muskegon, Judge Pittman, Judge

Hicks, Judge Marietti, Judge Hoogstra, Judge Mullally, Judge Kostrzewa, and Prosecutor

Roberts’ Motion Seeking Dismissal under Fed. R. Civ. P. 12(b)(6) presents no legal or

factual basis for this Court to deny the motion. That motion should be granted.

                                      Respectfully Submitted,

                                      /s/Allan C. Vander Laan
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Dated: December 18, 2017




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